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9
                       UNITED STATES DISTRICT COURT
10
                            DISTRICT OF NEVADA
11
     Kathleen Spain,                              Case No.: 2:22-cv-00778-CDS-VCF
12
13                   Plaintiff(s),
                                                  Notice of settlement between Plaintiff
            v.
14                                                and Backgroundchecks.com LLC
15   Equifax Information Services LLC;
     Backgroundchecks.com LLC; Experian
16
     Information Solutions, Inc.; Bank of
17
     America, N.A.; Specialized Loan
18   Servicing LLC; and Trans Union LLC,
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20                   Defendant(s).
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     _____________________
     Notice                                   - ​1 -
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1            The     dispute    between     Kathleen      Spain     (“Plaintiff”)   and
2    Backgroundchecks.com LLC (“Defendant”) has been resolved. Plaintiff anticipates
3    filing dismissal documents as to Plaintiff’s claims against Defendant within 60
4    days.
5
             Dated: September 2, 2022.
6
7
                                          Freedom Law Firm
8
9                                          /s/ George Haines           .
                                          George Haines, Esq.
10                                        Gerardo Avalos, Esq.
11                                        8985 S. Eastern Ave., Suite 350
                                          Las Vegas, Nevada 89123
12                                        Counsel for Plaintiff Kathleen Spain
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     _____________________
     Notice                                 - ​2 -
